 8:08-cr-00377-LSC-FG3           Doc # 28   Filed: 12/22/08   Page 1 of 1 - Page ID # 59




                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                      )
                                               )
                    Plaintiff,                 )
                                               )                8:08CR377
      vs.                                      )
                                               )                  ORDER
THOMAS E. BRYANT and                           )
JONATHAN M. BALES,                             )
                                               )
                    Defendants.                )


       This matter is before the court on the motion of Jonathan M. Bales for extension of
time in which to file pretrial motions (Doc. 27). Upon review of the file, and for cause
shown, the court finds that the motion should be granted.

      IT IS ORDERED that the motion (Doc. 27) is granted, as follows:

      1. The deadline for filing pretrial motions is extended to January 5, 2009 as to all
defendants.

        2. In accordance with 18 U.S.C. § 3161(h)(8)(A), the court finds that the ends of
justice will be served by granting this motion and outweigh the interests of the public and
the defendant in a speedy trial. Any additional time arising as a result of the granting of
this motion, that is, the time between December 22, 2008 and January 5, 2009, shall be
deemed excludable time in any computation of time under the requirement of the Speedy
Trial Act because counsel require additional time to adequately prepare the case, taking
into consideration due diligence of counsel and the novelty and complexity of this case.
The failure to grant additional time might result in a miscarriage of justice. 18 U.S.C. §
3161(h)(8)(A) & (B)(iv).

       3. Jonathan M. Bales shall file an affidavit or declaration regarding speedy trial,
as required by NECrimR 12.1 and/or 12.3, and the case progression order (Doc. 19 at ¶
9) no later than January 5, 2009.

      DATED December 22, 2008.

                                            BY THE COURT:

                                            s/ F.A. Gossett
                                            United States Magistrate Judge
